                                          1:20-cv-01248-JES-JEH # 18               Page 1 of 1
                                                                                                                                E-FILED
AO 450 (Rev. 11/11) Judgment in a Civil Action                                            Monday, 08 November, 2021 09:26:32 AM
                                                                                                     Clerk, U.S. District Court, ILCD
                                         UNITED STATES DISTRICT COURT
                                                                  for the
                                                        CentralDistrict
                                                   __________  Districtof
                                                                        of __________
                                                                           Illinois

                                                                     )
                             Plaintiff                               )
                                v.                                   )       Civil Action No.
                                                                     )
                            Defendant                                )

                                             JUDGMENT IN A CIVIL ACTION

The court has ordered that (check one):

   the plaintiff (name)                                                                                         recover from the
defendant (name)                                                                                                   the amount of
                                                                            dollars ($                ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of              % per annum, along with costs.

    the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                    recover costs from the plaintiff (name)
                                            .

    other:

                                                                                                                                      .

This action was (check one):

   tried by a jury with Judge                                                                          presiding, and the jury has
rendered a verdict.

   tried by Judge                                                                         without a jury and the above decision
was reached.

    decided by Judge                                                                            on a motion for

                                                                                                                                      .

Date:                                                                       CLERK OF COURT



                                                                                           Signature of Clerk or Deputy Clerk
